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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                               CASE NO. 3:08cr136 LAC

DAVID W. WEBB

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on November 3, 2009
Motion/Pleadings: MOTION FOR BOND
Filed by DEFT                           on 10/26/09                     Doc.# 162

RESPONSES:
GOVT’S OPPOSITION                              on 11/3/09               Doc.# 163
                                               on                       Doc.#
        Stipulated             Joint Pldg.
        Unopposed              Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon   consideration      of   the   foregoing,       it    is    ORDERED    this   3 rd   day   of
November, 2009, that:
(a) The relief requested is DENIED.
(b) 18 U.S.C. §3143 (a)(2).




                                                                 s /L.A. Collier
                                                             LACEY A. COLLIER
                                                   Senior United States District Judge


Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
